lN THE UN|TED STATES BANKRUPTCY COURT
FOR THE D|STR|CT OF AR|ZONA

|n re: CASE NO. 2:17-bk-07624-SHG

 

ARLENE & RONALD J S|LVER |ND|VIDUAL DEBTOR ENGAGED |N

BUS|NESS MONTHLY REPORT

VV\/V`/\_/\_/ V`/`_/

 

 

 

MONTH OF Aug-18
DATE PET|T|ON F|LEDI 7/5/2017
Debtor(s) TAX PAYER |D NO. ; 1430
Nature of Debtor`s Business: REAL ESTATE RENTAL
Nature of Co-Debtor's Business: NONE
DATE D|SCLOSURE STATEMENT F|LED TO BE F|LED
DATE PLAN OF REORGAN|ZAT|ON F|LED TO BE F|LED

| CERT|FY UNDER PENALTY OF PERJURY THAT THE FOLLOW|NG MONTHLY OPERAT|NG REPORT AND
THE ACCOMPANY|NG ATTACHMENTS ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE

RESPONS|BLE PARTY:

 

 

 

 

 

 

 

 

 

 

 

 

oR\GlNAL SlGNATuRE oF DEBTOR oRlelNAL sleNATuRE oF co-DEBToR
ARLENE SlLvER RONALD J SlL\/ER
PR\NTED NAME oF DEBTOR PR\NTED NAME oF co-DEBTOR

DATE DATE

PREPARE ,j
/%\~b,` cPA
ORlGlP(/ijélGNATuRE OF PREPARER TlTLE
. f ,
JOELLRuBEN ///5%?
PR\NTED NAME oF FREPARER DATE
PERSON To coNTAcT REGARD|NG THls REPORT: JOEL L RUBEN
PHONE NUMBER; 602-291-1196
/-\DDRESS: P 0 Box 62641

F|LE REPORT ELECTRON|CALLY W|TH THE COURT

 

2217-bk-O7624-SHG

 

CASH SUMMARY
|NDlVDUAL DEBTOR

 

 

Bank Accounts

 

 

 

 

 

 

 

 

 

 

Cash Checking Checking Checking TOTAL
7285 3591
IEalance ar Beginning of PeriodL l l 37234| 343| 87577]

 

Wages - Co-Debtor
Loans and Advances
Sa|e of Assets
REFUND

Renta| |ncome
Transfers from Other D|P Accounts

SOC|AL CUR|
FRO|V| PROP MGR

TOTAL RECE|PTS

1176

 

 

TOTAL D|SBURSEMENTS

 

 

15233

 

1 542

16775

 

 

Ba|ance at End of Month

127862

2491

130353

 

 

 

CRED|T CARD ACT|V|TY

Do||ar Amount of
Current
Purchase

lnterest
Charges

Payments
Made

Ending
Ba|ance

 

Name
Acct #

 

Name
Acct #

 

Name
Acct #

 

 

 

 

 

 

 

D|SBURSEMENTS FOR CALCULAT|NG QUARTERLY FEES:

 

 

 

 

 

 

 

Tota| Disbursements for Ca|culating Quarterly Fees

 

Tota| Disbursements ~ |ndividua| D|P Accounts (from above) 20,545.00
P|us: Esta!e Disbursements Made by Outside Sources (payments from escrow; 2-pany check; etc.) 151 ,344.00
P|us: Payro|| Deductions (from page 3) 289.00
P|us: Total Business Disbursements for Ca|culating Quarter|y Fees (from page 4)
Less: Transfers between debtor-in-possession bank accounts

172,178.00

 

 

 

2:17-bk-07624-SHG D|SBURSEMENT DETA|L

(lNDlleuAL AccouNTS)

 

 

 

Month: Aug-18
Account # 4503

Bank Name WELLS FARGC

Cash/E|ectronic Disbursements
Pu Amount

Total Cash/E|ectronic Disbursements

CHECKS |SSUED

heck um Amount

Total checks listed on this e
Total checks listed on continuation

 

 

 

 

 

TOTAL D|SBURSEMENTS FOR THE MONTH (inc|ude cash/electronic disbursements)

 

Payro|l
Sa|a l | P Date Deductions

Debtor

Gross P less Net P

       

   

Co-Debtor

l Deductions -

Page 3

 

2:17-bk-07624-SHG D|SBURSEMENT DETA|L

 

 

 

(|ND|V|DUAL ACCOUNTS)
Month: Aug-18
Account # 7285

Bank Name WELLS FARGC

Cash/Electronic Disbursements
Pu Amount

SEE SCHEDULE ATTACHED 3770

Total Cash/Electronic Disbursements

CHECKS |SSUED

Check Number Amount

SEE SCHEDULE ATTACHED

Total checks listed on this e
Total checks listed on continuation

 

 

 

 

 

TOTAL D|SBURSEMENTS FOR THE MONTH (include cash/electronic disbursements) 15233

 

Payro||

/ | P Date Gross less Net P Deductions

Debtor

       

     

N/A
Co-Debtor

Total l Deductions - re

Page 3

 

2;17-bk-07624-SHG D|SBURSEMENT DETA|L
(lNol\/louAL AccouNTs)

 

 

 

Month: Aug-18
Account # 3591

Bank Name WELLS FARGC

CashlE|ectronic Disbursements
Pu

SEE ATTACHED

Total Cash/Electronic Disbursements

CHECKS |SSUED
Pu

SEE ATTACHED

Total checks listed on this e
Total checks listed on continuation es

 

 

 

 

 

TOTAL D|SBURSEMENTS FOR THE MONTH (include cash/electronic disbursements) 1542

 

F’ayro|l
/ P Date Gross P less Net P Deductions
Debtor 8/3/2018 103
8/17/2018 93
8/31/2018 93

       

   

| Deductions -

Page 3

 

 

2;17-bk-07624-sHG CASE STATUS
QUESTIONNA|RE

 

 

YES

NO

 

l-lave funds been disbursed from any accounts other than a Debtor-in-Possession account?

 

Are any post-petition receivables (accounts, notes or |oans) due from related parties?

 

Are any wages past due?

 

 

re any U. S. Trustee quarterly fees delinquent?

 

 

><><><><

 

Provide a detailed explaination of any "YES" answers to the above questions (attach additional sheets if needed).

 

 

 

Current number of employees: NONE

INSURANCE

    

Payment unt
Carrier & Po| Number T of Po| Period Covered & F

What steps have been taken to remedy the problems which brought on the chapter 11 filing?

 

ATTE|V|PT|NG TO RENT VACANT CO|V||V|ERC|AL SPACE
SALE OF ASSETS

identify any matters that are delaying the filing of a plan of reorganization:

 

NEGOT|AT|ON W|TH MORTGAGE HOLDER ON L.ARGEST ASSET

 

Page 4

 

 

DBA BUSINESS ENT|TY

 

 

2:17-bk-07624-Sl-1G

 

 

 

 

 

 

 

 

 

 

 

 

 

REAL ESTATE RENTAL
CURRENT MONTH'S RECE|PTS AND D|SBURSEMENTS
BANK ACCOUNTS
Operating Payroll Tax Total
# #
Fa|ance at Beginning of Period l l l 1 l l

 

RECE|PTS
Cash Sales
Accounts Rceivable -
Accounts Rceivable -
Loans and Advances
Sa|e of Assets
Transfers from Other DlP Accounts
Other attach

TOTAL RECE|PTS

D|SBURSEMENTS
Business - Ordi 0
Ca l
Pre~Petition Debt
Transfers to Other D|P Accounts ALL |NFORN|AT|ON |NCLUDED |N |NDlV|DUAL DIP ACCOUNTS
Other attach list
lZONA SALES TAX

Reorganization Expenses:
Fees
Accountant Fees
Other Professional Fees
U. S. Trustee Fee
Court Costs

 

TAL D|SBURSEMENTS

 

lBalance at End of Month 1 1 1 1 1

*|nformation provided above should reconcile with balance sheet and income statement amounts

D|SBURSEMENTS FOR CALCULAT|NG QUARTERLY FEES:
Total Disbursements From Above
Less: Transfers to Other D|P Accounts

Plus: Estate Disbursements Made by Outside Sources (payments from escrow; 2-party check; etc.)
Disbursements for Calculating Quarterly Fees (carry forward to page 2)

 

 

 

 

 

 

 

 

 

Page 5

 

 

 

2:17-bk-07624-sHG |NCOME STATEMENT

(Accrua| Basis)

 

*Debtor`s own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals
(2) year-to-date and filing-to-date information is provided. and (3) if reorganization expenses are segregated in the statement

 

`REVENUES urrent th ear to ota nce l

Gross Revenue 18762 38690 266111

Less; Returns & Discounts
Net Revenue 18762 38690 265111

 

 

 

 

 

COST OF GOODS SOLD
Materia|
Direct Labor
Direct Overhead (attach detail)
Total Cost of Goocls So|d

 

 

 

 

 

 

 

 

I GROSS PROF|T

 

OPERAT|NG EXPENSES
Officer/|nsider Compensation
Se||ingéMarketing (attach detail)
General & Administrative (attach detail)
Other Expenses (attach detail)

Total Operating Expenses

 

 

 

7952
164221
172173

 

 

 

 

 

lncome Before Non-operating lncome
and Expense -203 7093 92938

 

 

 

 

 

 

 

 

 

ncome
Other attach list
lnterest se
letion
Amortization
Net Other lncome & se

       

 

llncome Before Reorganization Expense || -203|| 7093|[ 92938|

ees
U.S. Trustee Fees
Other attach list

Total R ization

 

 

l lncome Tax

 

 

lNET PRoF\T oR (Loss) l\ -1828|| 5468|| 89363\

 

Page 6

 

 

 

Case Number;2;17-bk-07624-SHG COMPARAT|VE BALANCE SHEET

(Accrua| Basis)

 

'Debtor's form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals (2) current
and prior period information is provided, and (3) if pre-petition and post-petition liabilities are segregated.

 

 

 

 

 

 

ASSETS SCHEDULE AlVlOUNT CURRENT MONTH PR|OR MONTH
Unrestricted Cash 52 475 7 577
Restricted Cash 77,878

Total Cash 3 522 130 353 87 577
Accounts Receivable (net)
lnventory

 

Notes Receivable

 

Prepaid Expenses

 

 

 

 

 

 

 

 

 

Other (DUE FRON| PROP l\/lGR) 1 476 1 539
Total Current Assets 3 522 131 829 89 116
Property, P|ant & Equipment 3 311 600 3 003 600 3 173 600
Less: Accumu|ated Depreciation 32 500 37 200
Net Property, Plant & Equip. 3 311 600 2 971 100 3 136 400
Due From |nsider(s)
Other Assets - net (attach list) 63 482 63 482 63 482
Other (attach list)
TOTAL ASSETS 3 378 604 3 166 411 3 288 998

 

POST-PET|TION L|AB|LlTlES

 

Accounts Payable

 

Taxes Payable

 

Notes Payable

 

Professiona| Fees

 

Secured Debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Other (security deposit) 1 943 1.943
l Total Post-Petition Lia_bilities 2 500 2 500
PRE-PET|TION L|AB|LlTlES

Secured Debt 841 008 2 544 927 676 117
Priority Debt - -
Unsecured Debt 47,301 47 301 47 301
Other (attach list)

Total Pre-Petition Liabi|ities 2 888 309 2 592 228 2 723 418
TOTAL L|AB|LlTlES 2 888 309 2 594 728 2 725 918
EQU|TY
Pre-petition Owner's Equity 1 193
Post-Petition Cumu|ative Profit/Loss 85,490 76 887
Direct Charges to Equity (e)<plain)

Total Equity 490 295 571 ,683 563 080
TOTAL L|AB|LlTlES & OWNER'S EQU|TY 3 378 604 3 166 411 3 288 998

 

1This column should reflect the information provided in Schedules A, B, C, Dl E, and F filed with the Court

Page 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

case Number 2:17-b1<-07624-sHG STATUS OF ASSETS
*lnformation provided on this paEshould reconcile with balance sheet amounts

ACOUNTS RECE|VABLE TOTAL 0-30 Days 31-60 Days 60+ Days
Total Accounts Receivable 0

Less Amount Considered Uncollectible 0

Net Accounts Receivable 0

DUE FROl\/l lNSlDER

Schedule Amount 0

Plus; Amount Loaned Since Filing Date 0

Less: Amount Co|lected Since Filing Date 0

Less: Amount Considered Uncollectible 0

Net Due From lnsiders 0

 

 

 

lNVENTORY
inn lnven

Plus: Purchases
Less: Cost of Goods Sold
Endin lnven

 

Date Last lnventory was taken: N/A

F|XED ASSETS SCHEDULE ADD|T|ONS DELET|ONS AN|OUNT

R l P
Buildi 3311600 308000 3003600

Accumu|ated De 37000 13200 32500
Net Buildi s 27 294800 2988500

E ui ment
Accumulated
NetE ui

ehicles
Accumulated
Net Autos/Vehicles

 

Provide a description of fixed assets added or deleted during the reporting period; include the date of Court order:
CONDOl\/|lNlUl\/l AT 7009 ACOl\/l/-\ DR, SCOTTADALE AZ SOLD ON AUGUST13. 2018

COURT ORDER DATED AUGUST 8, 2018

 

Page 8

 

 

case Number:2;17-bk-o7624-3HG STATUS OF L|AB|LlTlES
AND SENS|T|VE PAYMENTS

°lnformation provided on this page should reconcile with balance sheet and disbursement detail amounts

 

 

 

 

POST-PETlTlON L|AB|LlTlES Total 0-30 Days 31-60 Days 61-90 Days 91+ Days
Accounts Payable *
Taxes Payable 557 557

 

Notes Payable
Professiona| Fees Payable
Secured Debt
Other (security deposit) 1,943 - 1943

 

 

 

 

 

Total Post-Petition Liabilities 2,500 557 - - 1,943

 

 

 

 

 

*DEBTOR MUST ATTACH AN AGED ACCOUNTS PAVABLE L|STING

 

 

 

PAYMENTS TO |NS|DERS AND PROFESS|ONALS

 

lnsiders
nt a ota to
Reason for P ent this lVlonth Date

 

Total P ments to lnsiders

 

Professionals

 

Bate of Court
Order
Authorizing Amount Amount Paid Total Paid to
Name Payment Aproved this Month Date

 

 

NONE

 

 

 

 

 

Total Payments to Proffessiona|s

 

 

 

 

 

Page 9

 

 

 

case Number:z:17-bk-07624-sHGSCHEDULE GF OTHER OPER
MONTH OF AUGUST 2018

GLENDALE HATCHER CONDOS TOTAL

DEPREC|AT|ON
|NTEREST
PROPERTYTAX
REFUSE
HOAFEES
PESTCONTROL

UUUTES
|NSURANCE
REPNRS
LEGAL

TOTALEXPENSES

 

 

 

 

 

 

Page 10a

ARLENE & RONALD J SlLVER DEBTOR IN POSSESS|ON

Check Register Wells Fargo 7285
Month of August 2018

Type

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Total WELLS FARGO 7285
Total UNRESTR|CTED CASH

TOTAL

Date

08/21/2018
08/21/2018
08/22/2018
08/22/2018
08/22/2018
08/22/2018
08/23/2018
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08/31/2018

Num

Name

CHOMP|ES
AR|ZONA REPUBLIC
MARK BLOMSTE|N
LADY BUG PEST
N|CKS AT FRANK L...
HOMESERVE USA
PHOEN|X POWER
COUNSELL|NG AF,..
AJ'S

PROPERT¥ MANA...
MC DONALDS
COSTCO

COSTCO GAS
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RACHEL GlLBERT
COSTCO

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TRADER JOE'S
COSTCO
WALMART

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NEWSPAPER
LEGAL

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BEAUT|T|ON

MED|CAL SUP...

HOUSEHOLD
TELEPHONE

AUTO FUEL

HOUSEHOLD
HOUSEHOLD
HOUSEHOLD
HOUSEHOLD

Amount

-3.23
-10.15
_230.00
-51.00
-7.07
-6.99
-156.00
-100.00
_15.42
-200.00
-3.18
-12.18
-11.69
-360`00
-975.12
-85.00
-141.36
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-33.46
-13.64
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-42.00

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Page 2

ARLENE & RONALD J SlLVER DEBTOR |N POSSESS|ON

Check Register Wells Fargo 7285
Month of August 2018

Type

Date

UNRESTR|CTED CASH
WELLS FARGO 7285

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COSTCO

U S BANKRUPTCY

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AJ'S

DEAN AND HOMER
RO¥ CORREZ

D|SH NETWORK
COSTCO

COSTCO GAS

|L BUONO SOLAR
AAA ALARM
PHOENlX POWER
CHOMP|ES

ATM

AJ'S

DRAGON DlSPOSAL
BUTTER'S PANCA…
COSTCO
WALMART
AMER|CAN CONT|…

UN|TED HEALTH C...
C|TY OF SCOTTSD.,.

ROY CORREZ

COX

TRADER JOE'S
SALT R|VER PROJ...
COUNSELL|NG AF...
CHOMPlES
RACHEL G|LBERT
COSTCO GAS

APS

COSTCO

COSTCO

TRADER JOE'S
AJ'S

COSTCO
COUNSELL|NG AF...
WELLS FARGO
ROY CORREZ
BU`|_I'ER'S PANCA...
COSTCO
WALMART

RACHEL GlLBERT
WALMART
COSTCO

AETNA
SOUTHWEST GAS

AR|ZONA DEPT OF...

N|SSAN MOTOR C...
AJ'S

COUNSELL\NG AF...
WALMART
COSTCO

ROY CORREZ

ROY CORREZ
M|RACLE M|LE DELl
WALMART

TRADER JOE'S
CHLOE'S CORNER
COSTCO

COSTCO

ATM

FRY'S FOODS

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BANKRUPTCY.,.

|NSURANCE

HOUSEHOLD

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UT|L|T|ES

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|NSURANCE

Amount

-100.00
-33.60
-45,34

-650.00 2,(

-3.198.32 _,_

_4.46
-384.75 ¢/z
-500.00 L
-37.69
-13.70
-19.14
_137.77
~76.06 be
-156.00 j
_15.09
-100.00
-8.02
-85.00
-5.89
-13.70
-25.30

-15.00
-357.00 L/(
-5.89
-11.15
-37.55
-46.00
-6.96
-35.32
-21.50
-59.60
-561,63 U(

-91.58
-485.45 ¢-/(
-2,215.00 l

-15.20
-19.06
-16.81

-2.44
~13.59
-19.20

Page1

ARLENE & RONALD J SlLVER DEBTOR |N POSSESS|ON
Check Register Wells Fargo 3591

 

Month of August 2018
Type Date Num Name Split Paid Amount
UNRESTR|CTED CASH
WELLS FARGO 3591
Check 08/01/2018 DM WALMART -SPLlT- -1 10. 75
Check 08/01/2018 DM UPS BUS|NESS EXP -41.87
Check 08/01/2018 DM HOME DEPOT SUPPL|ES -36.86
Check 08/03/2018 DM SUBWAY RESTAURANT -3.77
Check 08/06/2018 DM BELTONE HEARING MED|CAL SUP... -116.70
Check 08/06/2018 DM B|CYCLES OF SCO... SUPPL|ES -22.03
Check 08/09/2018 DM FRY'S FOODS -SPL|T- -111.17
Check 08/13/2018 DM HOME DEPOT SUPPL|ES -21.56
Check 08/15/2018 DNl FRY'S FOODS -SPLIT- -68,12
Check 08/16/2018 DM SUBWAY RESTAURANT -7.08
Check 08/16/2018 DlVl WALLMART HOUSEHOLD -36450
Check 08/20/2018 DM HOME DEPOT SUPPL|ES -86.33
Check 08/21/2018 DM FRY'S FOODS -SPL|T- -72.93
Check 08/23/2018 DM SUBWAY RESTAURANT -8.84
Check 08/24/2018 DM FRY'S FOODS -SPL|T- -65.35
Check 08/24/2018 DM HOME DEPOT SUPPL|ES -6.53
Check 08/27/2018 DM UPS BUS|NESS EXP -312.61
Check 08/28/2018 157 RACHEL BLUlVl GlFT -50.00.!,'_,{
Check 08/28/2018 158 RYAN BLUM GlFT -50.00
Check 08/28/2018 159 STAC¥ BLUM RENT EXPEN.,. -210.00
Check 08/29/2018 DM FRY'S FOODS -SPLlT- -64.25
Check 08/30/2018 DM SUPERSHUTTLE TRANSPORTA... -27.00
Check 08/31/2018 DM AARP BUS|NESS EXP -12.00
Total WELLS FARGO 3591 -1,542.25
Total UNRESTR|CTED CASH -1.542.25
TOTAL -1,542.25
<‘.sé ¢c .w. 34 °

L-'-/‘&’(T/l~s»¢- §

1132

Wells F':¢lrgo Everyday Checking wELLs

Account numbt-r: 6959313591 l August 1. 2018 -August 31, 2018 l Page 1 of4 FA-RGO
Questions?

RON ¢`L D J SlLVER Available by phone 24 hours a day. 7 days a weeks

DEB fC R |N POSSESS\ON
CH 11 CASE #17-07624 (AZ)
42 A JCiUSTA DR TI'Y.' 1-800-877-4833

DEE ?FlELD |L 60015-5067 En e$Pa'zOl-' 1~377~727-2932

Online: wellslargo.com

P.O. Box 6995
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Tha ik you for be ing a loyal Wells Fargo customer. We value your trust in our A check mark in the box indicates you have these
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fill llleolzTANT AccouNT lNFoRl\/lATloN

ln tl'¢. "Available l: alance. posting order. and overdrafts" section of the Deposit Account Agreement under the question "How do we
pror.~z ss l )ost) transactions to your account?", we are replacing the paragraph beginning with "Your available balance will be reduced
by pr; 1dir‘g witl‘dr \vv.tl:;" to include a new fee waiver, as follows:

You available bal ama will be reduced by pending withdrawals such as debit card transactions we have authorized and must pay

wher the‘/ are sell lo us for payment. lf your account has insufticient funds as reflected by your available balance. the bank may assess
overc raft andlc' n )1-s.ufticient funds (NSF) fees on transactions we pay or return during night|y processing A pending transaction will
typic;' l|y remain pr-ncirg until we receive it for payment from your account. but we must release the pending transaction hold alter

three bus.ness da is o‘ most transactions These pending transactions may be sent to us for payment after they have dropped from
your iccr:unt. but ~e must pay them when we receive them for payment.

ln so we l:ircumstz nczs.. previously-authorized transactions may be paid into overdraft il other transactions or fees have reduced your
balance before this pending transactions are sent to us for payment To minimize the number of overdraft fees in these circumstances
we track transactions hat reduced your available balance while pending and caused overdraft fees on other transactions lf these

ij

Acct. unl nunibe r;

695931 3591

l August 1, 2018 - August 31, 2018

l Page 2 of4

WELLS
FARGO

trans ictit:ns are p 'estinted for payment within 10 business days after they lirst appeared as pending. we will waive any overdraft fees
on tl~, ise ;ransacli ns ln rare circumstances the merchant presents transactions for payment with a different identification code than
wasl t sect when th a transaction was sent for authorization and we are unable to match them4 |n those cases you may be charged an

overt raft fee if the lrz nsaction is paid into overdraft

ln ao'= lition_ in the /\\a lable balance. posting order. and overdrafts" section of the Deposit Account Agreement under the heading
"lMP- )R`!'ANT ‘NF OFIMAT|ON ABOUT FEES," we added the following:

We track transactions that reduced your available balance while pending and caused overdraft fees on other transactions lf these

trans icti<:ins are pfesented for payment within 10 business days after they first appeared as pending, we will waive any overdraft fees
on tl~ )se '.rans:icli )'tt. ln rare circumstances the merchant presents transactions for payment with a different identification code than
was t.sed when th a ':t'msaction was sent for authorization and we are unable to match them,

 

m’vi'ty sunhiztry

 

Bsiginnirig ia|:irce on 811 $343.47

DopositslA tdi tons 3.689.64

V‘.ltthdrawa s/€u:tractions - 1,542.25
III

Eiiding ba adm on 8/31 52,490.85

Ovtz-i draft Prc-tet.titir

6959313591

RONALD J SlLVER
DEBTOR |N POSSE$S|ON
CH 11 CASE #17-07624 (AZ)

Msconsin/I/Iinois account terms and conditions apply

Account number:

For Direct Deposit use
Routing Number (RTN): 071101307

This. z ccc .int is nol cu"-ently covered by Overdraft Protection. |f you would like more information regarding Overdraft Protection and eligibility requirements
pleas z ca l the run tier isted on your statement or visit your Wells Fargo store.

 

T_rit is.'iictii‘in history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposils/ Withdrawals/ Ending daily

Date Number Description Additions Subrractions balance

§`t_ "` `"" Purchase with cash sack s ioo.oo authorized on 08/01 Wai-Mart 110.75

_ ___ Super Center Scottsdale (N AZ P00000000174569043 Card 7373

8. l Purchase authorized on 08/01 The UPS Store #4990 87 Scottsdale 41.87 190_85
___ AZ P00000000487759512 Card 7373

8..2 Purchase authorized on 08/02 The Home Depot #0420 36,86 153.99
___ scottsdale Az P00388214695974304 card 7373

83 _____ Card Provisiona| Credit20801188579 116.66 +k'/l~¢m ~:, /l'1 9

8. 3 Home Depot U.S.A Reg Salary 180803 xxxxx9745 Silver,Ronald J 414447 /

8. 3 ___ SSA Treas 310 Xxsoc Sec 080318 xxxxx5538A SSA Ronald J Silver 1,155.00

8. 3 Purchase authorized on 08/01 Subway 0313 Scottsdale AR 3,77 1.836.35
___ s388214020450893 card 7373

8.'5 Purchase authorized on 08102 Be|tone Hearing & Morton Grove 116.70 1.719.65
___ iL 5388214522935169 card 7373

8, 3 Purchase authorized on 08/08 Bicycles of Scottsdale Scottsdale 22.03 1_697.62
_____ Az P00000000677739893 card 7373

8.'3 Purchase with Cash Back $ 60 00 authorized on 08/09 Frys-Food 111 17 1.586.45
___ 10450 N. 90T Scottsdale AZ P00000000835879380 Card 7373

8, 13 Purchase authorized on 08/12 The Home Depot #0420 21 .56 1.564_89
___ Scottsdale AZ P00308224582115104 Card 7373

8 15 Purchase with Cash Back $ 60.00 authorized on 08/15 Frys-Food 68.12 1,496.77
___ 10450 N. 90T Scottsdale AZ P00000000076141388 Card 7373

8i 16 Purchase authorized on 08/14 Subway 0313 Scottsdale AR 7_08

_ 8388226797246649 Card 7373
e. te " Purchase authorized on 08/15 wivi supero Wai-iviart sup 36.50 1.453.19
Scottsdale (N AZ P00000000387041815 Card 7373
a. 17 :" Home Depot u.s.A Reg salary iaosi7 xxxxx9745 siiver,Ronaid J aat.og ' 1,834.28

 

Aci::< unl nun'be-r: 6959313591 l August 1l 2018 - August 31, 2018 n Page 3 of4 WELLS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FARGO
Trair sat:tior' h `:;tt)ry (continued)
Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtracliom\ balance
8. ZO Purchase authorized on 08/20 The Home Depot #0420 86.3y 1.747.95
___ Scottsdale AZ P00388232731864686 Card 7373
8 21 Purchase with Cash Back S 60,00 authorized on 08/21 Frys-Food 72.93
10450 N. 90T Scottsdale AZ P00000000882529630 Card 7373 /'\\
8. 21 Purchase Return authorized on 08/20 The Home Depot #0472 w / 1.761.35
_ ___ Scottsdale AZ P00308233057779819 Card 7373
8. 23 Purchase authorized on 08/21 Subway 0313 Scottsdale AR 8.84 1,752.51
___ 8585233768833100 Card 7373
8. 24 Purchase with Cash Back 3 60.00 authorized on 08/24 Frys-Food 65.35
___ 10450 N. 90T Scottsdale AZ P00000000377330835 Card 7373
8. 24 Purchase authorized on 08/24 The Home Depot #0420 6.53 1.680.63
Scottsdale AZ P00388236821594905 Card 7373
8. 27 Purchase authorized on 08/27 The UPS Store #4990 87 Scottsdale 312.61 1.368 02
AZ P00000000033892166 Card 7373
a, za : 157 check 50.00
8t 28 ___ 158 Check 50.00
B, 28 ___ 159 Check 210.00 1_058.02
8. 29 Purchase with Cash Back S 60.00 authorized on 08/29 Frys-Food 64.25 993.77
___ 10450 N. 90T Scottsdale AZ P00000000571032439 Card 7373
8. 30 Purchase authorized on 08/28 Supershuttle Execu 800-258-3826 27_00 966.77
___ AZ 8588240667186531 Card 7373
8. 31 ___ Home Depot U.S.A Reg Sa|ary 180831 xx)oo<9745 Silver,chald J 381.09 /`
8l 31 ___ SSA Treas 310 Xxsoc Sec 083118 )oooo<5538A SSA Ronald J Silver 1.155.00 /
8. 31 Recurri`ng Payment authorized on 08/30 AARP 'Membership 12.00 2.490.86
___ 888-687-2272’ CA 8468242492873865 Card 7373
_E_tiding ba Ei_i:ce on 8/31 2,490.86
T:»tals $3,689.64 $1,542.25

T 'e En<iing t;-atl/ Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
tr'-nsactto'i~: posted lf you had insufficient available funds when a transaction posted. fees may have been assessed

Sun~t navy of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date A'nount Number Date Amount Number Date Amount
1 5 7 8/28 50.00 158 8/28 50.00 159 8/28 210.00

Mo'i‘ hly serv ce lea summary

For at :or‘plete iist :f 'ees and detailed account i'tformation. see the Wells Fargo Account Fee and information Schedule and Account Agreement applicable to
you . ccc-Jnt (E as; sz Card Terms and Conditions for prepaid cards) or talk to a banker Go to wel|sfargo.com/feefaq for a link to these documents and answers
to c‘ii tm<»n morthl t service fee questions

 

F::§p_miod 0_8'01/2018 - 08/31/2018 Standard monthly service fee $10.00 You paid S0.00
Hi>w to av )id ':Ite monthly service fee Minimum required This fee period
Hzive ai~y tille )f the following account requirements
Mi iiir Jrr :aily balance 31.500.00 5270.65 I:]
Total int :tint of qualifying direct deposits $500400 $3,486.65 lZ]
~ Total tit ther of posted Wells Fargc Debit Card purchases and/or payments 10 20 [Z]

The ft et is waived when the account is linked to a Wells Fargo Campus ATM or
_ Ca '_ri§ ._is_ liebit Card
N. onthl~.' s- .\i'vice fee discount(s) (applied when box ls checked)

A:ie of i.rin th' account owner is 17 - 24 {$10.00 discount) m
ar inc

Weils Fargo Everyday Checking

starr

W/, ' WELLS

_\_ooountriurnber; 6725367285 - August1,2013_August31,2018 - Pagetof7 FARGO

ARLENE SlLVER

DEBTOR |N POSSESS|ON

CH 11 CASE # 17-07624 (AZ)

8329 E CHARTER OAK RD
COTTSDALE AZ 85260-5230

 

Questions?

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Online: wel|sfargo.com

Write.' Wells Fargo Bank. N.A. (038)
P.O. Box 6995
Port|and. OR 97228-6995

 

"~./ou and Wells Fargo

'i'hank you for being a loyal Wells Fargo customer. We value your trust in our
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questions or if you would like fo add new services

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Auto Transfer/Payment |:l
Overdraft Protection l:l
Debit Card

Overdraft Service l:]

On|ine Banking
On|ine Bill Pay
On|ine Statements
Mobile Banking

My Spending Report

H[:]HHE

ll\/|PORTANT ACCOUNT |NFOR|V|AT|ON

in the "Available balance. posting order. and overdrafts" section of the Deposit Account Agreement under the question "l-low do we
process (post) transactions to your account?", we are replacing the paragraph beginning with "Your available balance will be reduced

by pending withdrawa|s" to include a new fee waivers as follows:

Your available balance will be reduced by pending withdrawals such as debit card transactions we have authorized and must pay

wizen they are sent to us for payment lf your account has insufficient funds as reflected by your available balance. the bank may assess
overdraft and/or non-sufticient funds (NSF) fees on transactions we pay or return during nightly processing A pending transaction will
typically remain pending until we receive it for payment from your aocount, but we must release the pending transaction hold after

three business days '-‘or most transactions These pending transactions may be sent to us for payment after they have dropped from

your account. out we must pay them when we receive them for payment

ln some circumstances previously-authorized transactions may be paid into overdraft if other transactions or fees have reduced your
balance before the pending transactions are sent to us for payment To minimize the number of overdraft fees in these circumstances
we track transactions that reduced your available balance while pending and caused overdraft fees on other transactions lf these

Accountnumber; 6725367285 l Augustt,2018~Augus131,2018 n Page20f7 VVELLS

FARGO

 

transactions are presented for payment within 10 business days after they first appeared as pending, we will waive any overdraft fees
on those transactions ln rare circumstances the merchant presents transactions for payment with a different identification code than
was used when the transaction was sent for authorization and we are unable to match them. ln those cases you may be charged an
overdraft fee if the transaction is paid into overdraft.

in addition. in the "Avai|ab|e balance posting order. and overdrafts" section of the Deposit Account Agreement under the heading
"ltvtPORTANT lNFORMATlON ABOUT FEES." we added the following:

V\"e track transactions that reduced your available balance while pending and caused overdraft fees on other transactions lf these
transactions are presented for payment within 10 business days after they hrst appeared as pending. we will waive any overdraft fees
on those transactions ln rare circumstances the merchant presents transactions for payment with a different identification code than
was used when the transaction was sent for authorization and we are unable to match them.

 

 

Activity summary Account numberf 8725367285
Beginn:"ig balance on 8/1 $87.233.73 ARLENE SlLVER
oeoosits/Adoitions ss_ast.ts DEBT°R 'N P°SSESS'°N
. CH 11 CASE # 17-07624 (AZ)
V\Iilhdrawals/Subtractions - 15,232.94
Arizona account terms and conditions apply
Ending balance on 8/31 $127,861.94

For Direct Deposit use
Routing Number (RTN): 122105278

Overdraft Protection
Tl~.ts account is not currently covered by Overdraft Protection lf you would like more information regarding Overdraft Protection and eligibility requirements
please call the nunber listed on your statement or visit your Wells Fargo store

 

Transaction history

 

 

 

 

 

 

Check Deposifs/ Withdrawals/ Ending daily
Date Number Descn`ption Additions Subtraclio ris balance
811 Deposit Made ln A Branch/Slore 13,813.37 /
8i1 Purchase authorized on 07/30 Counseling Afh|ie Scottsdale AZ 100.00
8588211639615007 Card 5138
8.-'1 Purchase authorized on 08/01 Costco the #0427 Scottsdale AZ 33.60
P00588213690458432 Card 5138
811 Purchase authorized on 08/01 Costco the #0427 Scottsdale AZ 45.34
P00308213712449242 Card 5138
ali 243 check {yie~}r (-».t eso.oo 100,218_16
8/2 Purchase authorized on 08/02 Aj's #118 Scottsdale AZ 4 46

Poo468214631800406 Card 5138 _
812 244 check M Wr 2-;¢. \ ar >. 3.193.32 97,015.35
8/3 Purchase authorized on 08/01 Dish Nelwork-One T 800-333-3474 37.69

 

 

 

 

 

 

 

 

CO 8588214059431417 Card 5138

813 Purchase authorized on 08/03 Costco Wnse #0427 Scottsdale AZ 13.70
P00588215790466243 Card 5138

813 Purchase authorized on 08/03 Costco Gas #0427 Scottsdale AZ 19_14
P00468215858857889 Card 5138 4

8."3 |L Buono Solar t Echeckpay T><id000049_74528 Ar|ene Silver k '&YT\»\¢. w 137.77

eis 241 check 08 tlc r\~»m,g , t ) ago

8/3 268 check [t.»\ ¢-,. 4 500.30 `t 95,922.33

816 Purchase authorized on` 08/03 Chomp»es Restauran Scottsdale _15.39
AZ 8308215726814795 Card 5138

8.-‘6 ATM Withdra\val authorized on 08/04 Ninethieth St&Mountain 100.00
Scottsdale Az 0005923 ATM to 26321< card 5138 \“’w

8/6 Purchase authorized on 08/04 Aj's #063 Scottsdale AZ 802

P00468216638395945 Card 5138

Account number:

6725367285 l August 1. 2018 - August 31, 2018 l Page 3 Of7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WELLS
FARGO
Transa ction history (continued)
Check Deposits/ Withdrawals/ Ending daily
Date Number Descn'plion Additions Subtractions balance
8/6 Recurring Payment authorized on 08/05 Dragon Disposa| 85.00
480-513-4065 AZ 8588217342716808 Card 5138 h"\
8/6 Purchase authorized on 08/05 Butters Pancakes & Scottsdale AZ 5. 39
8388217576124821 Card 5138
8/6 Purchase authorized on 08/05 Costco Wnse #0427 Scottsdale AZ 13,70
P00308217673974068 Card 5138
8.'6 Purchase authorized on 08/05 Wa|-Marl #2766 Scottsdale AZ 25.30
P00000000481569352 Card 5138
a/s 246 Deposited 0R cashed check m m shaw 76.06
8/6 American Contine ins Pymt 180802 Aci2155156 Ar|ene Silver Rp s hew/h 134.95
8."6 unitedhealthcara Premium 0197632271 Silver R 531 n 427.00
eis 250 check k fir-mr M/;- V wang 156.00 94,87532
8/'7 Purchase authorized on 08/05 Cox Phoenix Comm S ' 83.31
800-234-3993 AZ 5388218160618668 Card 5138
8/7 Purchase authorized on 08/07 Trader Joe's # 087 Scottsdale AZ 7.99
P00588219662530323 Card 5138
817 Srp Surepay 180803 x>o<xx0002 Suntex Ltr & Troph inc 1"1 0 \ 44.00
8!7 " 245 Cityofscottsda|e Checkpym100245 000000000000 1 m 14 ;) 51.92
en 254 check gbs-1 ama l /L4 vt ' 503.-)0 94.184.60
8iB Purchase authorized on 08/06 Counseling Affilia Scottsdale AZ 100.~30
8588218618107403 Card 5138
8/8 Purchase authorized on 08/06 Chompies Restauran Scottsdale 1402
AZ 3588218632184334 Card 5138
818 Purchase authorized on 08/07 Sq 'Rachel Gilbert Phoenix AZ HA\ 59.00
5388219585251911 card 5138 ‘k
818 Purchase authorized on 08/08 Costco Gas #0427 Scottsdale AZ 38.97
P00308220558391400 Card 5138
8/8 APS E|ectric Pmt Payment 180806 4592451000 Silver.Ronald J '|'$1\>¢,¢_;;`_ 225.30 93.737 31
8/9 Purchase authorized on 08/08 Costco Wnse #0427 Scottsdale AZ 6.43
P00468221070917296 Card 5138
8:‘9 Purchase authorized on 08/08 Costco the #0427 Scottsdale AZ 31 .61
P00588221085265456 Card 5138
8/9 Purchase authorized on 08/09 Trader Joe's # 087 Scottsdale AZ 14.50
P00388221635945743 Card 5138
8.'9 Purchase authorized on 08/09 Aj‘s #118 Scottsdale AZ 12.30
PCO308221656419363 Card 5138
8/9 Purchase authorized on 08/09 Costco Wnse #0427 Scottsdale AZ 3.55 93,668.82
P00588221708468668 Card 5138
8/10 Purchase authorized on 08/08 Counseling Affilia Scottsdale AZ 100. 30 93.568.82
8308220697781453 Card 5138
8.€13 WT Fed#00933 Western A|liance B lOrg=Landmarl< Tit|e 39,283.60
Assurance Agency Srf# 20152250334600 Trn#180813141939 (`_, m , ,¢y
th>#
8/13 Wire Trans Svc Charge - Sequence: 180813141939 Srf# L’~>/“'i 1 Fr`/ 1500
20182250334600 Trri#180813141939 be#
8/ 13 Purchase authorized on 08/11 Butters Pancakes & Scottsdale AZ 5.39
8338223579253779 Card 5138
8/'13 Purchase authorized on 08/11 Costco Wnse #0427 Scottsdale AZ 11 15
900468223595555024 Card 5138
8/13 Purchase authorized on 08/11 Wa|-Mart Super Center Scottsdale 37.55
(N AZ F00000000875167377 Card 5138
8113 Purchase authorized on 08/11 Sq ‘Rachel Gi|bert Phoenix AZ `m /L 46.'30
8468223751064391 Card 5138
8/13 Purchase authorized on 08/12 Wa|-Mart Super Center Scottsdale 6.96
(N AZ P00000000831384535 Card 5138
.'13 Purchase authorized on 08/12 Costco Wnse #0427 Scottsdale AZ 35.32
P00308224639982798 Card 138
sits 255 check q fmha M‘\»% 357.00
ana Aeineerv-zssawe cippremium 081318 Mebrnoes Ariene silver "9 ' 21.50
8l13 Southwest Gas App 180809 4212748833021 Silver Rona|dj Ho\u). 59.60 132,256.45
8/14 Purchase authorized on 08/14 Aj's #1‘.8 Scottsdale AZ 2.63

P00588226665541286 Card 5138

Account number:

6725367285 n August1,2018-Augustst,2018 . Page4of7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WELLS
FARGO
Transactlon history (continued)
Check Deposits/ Withdrawals/ Ending daily

Date Number Descn'ption h Additions Subtractioris balance

8/14 227 check )M»z?(~-r 561.63

8/14 252 Check (A/ 480.91 131,211.28

8/15 SSA Treas 310 Xxsoc Sec 081518 x)ootx1430A SSA Ar|ene Silver 821400

8/15 Purchase authorized on 08/13 Counseling Afh|ia Scottsdale AZ 100.00
8308225624225182 Card 5138

8."15 Purchase authorized on 08/ 15 Wai-Mart #2766 Scottsdale AZ 35.91 131 .896.37
P00000000877628775 Card 5138

8/16 Purchase authorized on 08/16 Costco the #0427 Scottsdale AZ 91.58 131 .804.79
P00308228670360888 Card 5138

8/17 Connect U. LLC Sender 180817 xxxxx8052 0000Ar|ene Silver 1_943.18

5/17 257 Check rlea *<'t 01 485.45

8/17 260 check ,Q.~I l7oi 2,215.00 131,047.52

8120 Purchase authorized o'n 08/17 Miracle Mi|e De|i Phoenix AZ 15.20
8468229688873768 Card 5138

8/?0 Purchase authorized on 08/18 Wal-Mart #2766 Scottsdale AZ 19.06
F00000000174318421 Card 5138

8/20 Purchase authorized on 08/ 18 Trader Joe's # 087 Scottsdale AZ 16.81
P00588230607451760 Card 5138

8/20 Purchase authorized on 08/18 Chloe‘s Corner Scottsdale AZ Fg~,~.); 2.44
5388230621424724 Card 5138

8i20 Purchase authorized on 08/18 Costco the #0427 Scottsdale AZ 1359
P00588230654394917 Card 5138

8/20 Purchase authorized on 08/18 Costco the #0427 Scottsdale AZ 1920
P00303230665893975 Card 5138

8/20 ATM V\hthdrawal authorized on 08/19 Pima & Shea (Smith's) 40.00
Scottsdale AZ 0009143 ATM ID 2203x Card 5138

8i20 Purchase authorized on 08/19 Frys-Food-Drg #1 10450 N. 100 130,920.22
Scottsdale AZ P00468231583622303 Card 5138

8/21 Purchase authorized on 08/19 Chomp:es Restauran Scottsdale 3.23
AZ 3308231601793546 Card 5138 m

8,21 Purchase authorized on oa/zo dawson 602-444-8000 Az 1015
8588232277636073 Card 5138

6,'21 258 chec:< w (.../ 00; 150.60 130,756.24

8/22 Purchase authorized on 08/20 Nicks at Frank L|o Scottsdale AZ 707
8468233022421770 Card 5138

8/22 Recurring Payment authorized on 08/21 Homeserve USA 4 § gi _/7 6.99
sea-eee-ao75 cT 8303233345998363 card 5138 "\"‘ " 7"

8/22 228 Checi< via Mi. Dw/i-w€i.i 1/»§“, 19 o. 230.00

6/22 259 Check £.¢.a_(ji/\\ E¥'l 51400 130_461.18

8/23 Purchase authorized on 08/21 Counseling Afnlia Scottsdale AZ 100.00
8588233620710895 Card 5138

8/23 Purchase authorized on 08/23 Aj's #118 Scottsdale AZ 15.42
P00388236012102543 Card 5138

8i'23 251 Check 7\‘ Wz\?\() 156.00 130.189.76

8/24 Purchase authorized on 08/22 McDon'a|d's F11075 Scottsdale AZ 3. 18
8588234700051972 Card 5138

8.’24 Purchase authorized on 08/24 Costco Wnse #0427 Scottsdale AZ 12. 18
P00388236672727069 Card 5138

8/24 Purchase authorized on 08/24 Costco Gas #0427 Scottsdale AZ 1139
P00308236681076227 Card 5138

8l24 District at Scot Web Pmts 082418 Nhrwk4 Ar|ene Silver Jc`¥‘*\ f v/' /VF (N&"D 360.00

8/24 263 check /’/\'a,, M?t _ 200.00 129.502.71

8/27 Purchase authorized on 08/22 Dish Network-One T 800-333-3474 85.00
CO 8388235098897991 Card 5138

8/27 Purchase authorized on 08/25 Consumer Cei|u|ar 800-6864460 141.36
OR 8588237490052055 Card 5138

8/27 Purchase authorized on 08/25 Costco Wnse #0427 Scottsdale AZ 16_64
P00588237607252819 Card 5138

8!27 Purchase authorized on 08/25 Butters Pancakes & Scottsdale AZ 33.46
8468237703280514 Card 5138

8./27 Purchase authorized on 08/26 Shell Service Station Scottsdale AZ 1354

P00308239024115605 Cardl 5138

Account number:

6725367285 l August1,2018-August31,2018 l Page50f7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WELLS
FARGO
T.ransaction history (conti'nued)
Check Deposits/ Withdrawals/ Ending daily
Date Number Descri`ptlon Additions Subtractions balance
8/27 262 check 17~5;7.< 'M,\.\ /'4`. 7 975. 12 128,337_49
8/28 Purchase authorized on 08/28 Smart and Fina| 721 Phoenix AZ 354 128,333.85
P00588240657165129 Card 5138
8/'29 Purchase authorized on 08/27 Dish Network-One T 800-333-3474 42.30
CO 8388239388958167 Card 5138
8/29 Purchase authorized on 08/27 Counseling Aft’ilia Scottsdale AZ 100.00
8468239659476999 Card 5138
8/29 Purchase authorized on 08/28 Sq 'Rachel Gi|bert Phoenix AZ 40.00
8308240682972875 Card 5138
8/29 Purchase authorized on 08/29 Costco Wnse #0427 Scottsdale AZ 73.46
P00588241661151932 Card 5138
8/29 Purchase authorized on 08/29 Costco Wnse #0427 Scottsdale AZ 14.70
P00308241681507375 Card 5138
8/29 Syncb Phone Payment 180829 Scottsilver 6019183490493962 46t00
size 265 check v/L <3-»\/\~) 3 } vi l¥-ttL lt/MN~/re/ 80.00 127.937.69
8/30 Purchase authorized on 08/29 Circle K 00127 4440 N Scottsdale 20.40
AZ P00000000589716861 Card 5138 rs
.'30 Purchase authorized on 08/30 Trader Joe's # 087 Scottsdale AZ 12.60
P00468242568184732 Card 5138
8/30 Purchase authorized on 08/30 Trader Joe's # 087 Scottsdale AZ 213
P00588242575675587 Card 5138
8/30 Purchase authorized on 08/30 Costco the #0427 Scottsdale AZ 12. 16 127,890.40
P00308242596416530 Card 5138
8/31 Purchase authorized on 08/31 WM Superc Wal»Mart Sup 28.46 127.861.94
Scottsdale (N AZ P00000000277784350 Card 5138
Ending balance on 8131 127,861.94
Totals $55,861.15 $15,232.94

Tne Ending Dain Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted if you had insufficient available funds when a transaction posted, fees may have been assessed

“ Converted check:Check converted to an electronic format by your payee or designated representative Checks converted lo electronic formal cannot be
returned copied or imaged.

Summaiy of checks written (checks listed are also displayed in the preceding Transacti'on history)

 

 

 

Number Date Amount Number Date Amount Number Date Amount
227 8/14 561 63 250 ' 8/6 156.00 259 8/22 51.00
228 8/22 230.00 251 8123 156.00 260 8/17 2,215.00
243 ' 811 650.00 252 8/14 480.91 262 ' 8/27 975_12
244 812 3.198.32 254 " 8/7 503.00 263 8/24 200.00
245 8/7 51 92 255 8/13 357.00 266 ' 8/29 80.00
246 816 76.06 257 ° 8117 485445 268 ' 8/3 500.00
247 8/3 384 75 258 8/21 150.60

‘ Gap in check sequence

Monthly service fee summary

For a complete list of fees and detailed account information see the Wells Fargo Account Fee and information Schedule and Account Agreement applicable to
your account (Easypay Card Terrns and Condilions for prepaid cards) or talk to a banker Go to wel|sfargo.com/feefaq for a link to these documents and answers
to common monthly service fee questions

§e_Bri_oq baldi/2018 - os/stizoie

How to avoid the monthly service fee

Standard monthly service fee $10`00 _

_You paid $0.00

 

Have any ONE of the following account requirements

Minimum required

This fee period

>mrmzm >ZO sz>rO m=.<mw
OmmHOm _z _omewm_Oz

n>mm ZC _<_mmm Nu:-c_?o<m~>-m_._m
_ZnO_<_m m.~>Hm§mzH _omOUmxH_mm

nom j._m _<_OZHI O_u
|>|C.@E

 

now j._m vmm_OU _Cr< U_: Nowm
150le >Cmcm._. wp. No…~m

 

 

 

 

 

 

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mxemzmmw
_z:%m£ m§mzmm - some Nt~w~ §§
ome_~mn_>:oz ice ~Qo 30 ~_moo
exonm_£< ix §§ § mem §§
_zmcm>znm whom wmm ama mims
w>rmw ix ama § we m3
mmEmm e_n_&o mm - mm
emma noz§o¢ mo mo
5_:: mm 3 - am
wmo>_xwdcmzo<mx 995 wmc §§
_zm_smn:oz -
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rmm>r mmmm ~wo do
:zcmw_m mm - -
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aoa>_. mxemzwmm Fmsw 53 3d Hmtomm
zE wmza>r _zno_<_m wst 3me 355 303

 

 

mrmzo>rm I>S:m» nozcom aoa>r
wQ`G~ 3d wood wm`moo
w.omo ~to@~ §§

waco soo §§ waco
misc 30 mae whom
whom owe owe w.o~o
58 ca ~mm vwa
50 50
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Bw - 3m
memo §§ §§
do do

- , dm dm
593 mtm: §§ wem.£
H~_BQ Gst shed show

 

